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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA
                                                            Criminal No. 23-cr-00123-SAG
                     v.

 CHARLES AUSTIN JENKINS

                       Defendants


            DEFENDANT CHARLES JENKINS’ MOTION TO EXCLUDE TIME
                       UNDER THE SPEEDY TRIAL ACT

       The defendant, Charles Austin Jenkins, through undersigned counsel, moves that this

Court make a finding pursuant to 18 U.S.C. § 3161(h)(1) and (7)(A) and (B) that time necessary

for the review of evidence and discussions with the Government regarding this case are

proceedings within the contemplation of the Speedy Trial Act and that the ends of justice served

by continuing the trial date beyond the 70-day period normally required under 18 U.S.C. §

3161(c)(1) outweigh the best interests of the public and the defendant in a speedy trial. For the

reasons set forth below, the Court should find that the parties need a longer period than is

normally afforded under the Speedy Trial Act for review of the pertinent records, preparation of

pre-trial motions and in preparation for trial in the event that no pretrial resolution is reached.

       1.       The Defendant was charged on April 5, 2023, with, inter alia, Conspiracy to

Interfere with Government Functions, in violation of 18 U.S.C. §371, False Statements During

Purchase of Firearms in violation of 18 U.S.C. §922(a)(6), and Unlawful Possession of a

Machinegun, in violation of 18 U.S.C. §921(a)(24) & 922(o).

       2.       The Defendant made an initial appearance on April 12, 2023. Co-defendant

Robert Krop made an initial appearance on April 13, 2023.
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       3.       The Government made an initial discovery production to the Defendants on April

14, 2023. The Government made a supplemental discovery production on April 28, 2023, which

contained discovery obtained after the Government’s initial production.

       4.       Counsel for defendant Jenkins has been reviewing the voluminous discovery and

has been communicating with the Government regarding the case and the discovery provided to

date. Additional time is need for a complete review of evidence and to allow for further

discussions with the Government about the case.

       5.       For the foregoing reasons, defendant Jenkins requests that the period of time from

April 14, 2023, through June 16, 2023, be excluded from the Speedy Trial Act’s calculation

pursuant to 18 U.S.C. §3161 (h)(1) and 18 U.S.C. 3161(h)(8)(A) to allow for the further

production and review of discovery and for the preparation of pretrial motions and for trial

preparation and to allow the parties to discuss the case further.

       6.       Undersigned counsel has spoken with AUSA Leo Wise and is authorized to

represent to the Court that the Government does not object to this motion.


                                              Respectfully submitted,

                                              ________/s/________________
                                              Andrew C. White
                                              (Federal Bar No. 08821)
                                              SILVERMAN, THOMPSON, SLUTKIN & WHITE
                                              400 East Pratt Street, Ninth Floor
                                              Baltimore, Maryland 21202
                                              (410) 385-2225
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, that on May 24, 2023, a copy of the foregoing motion was filed
via ECF, which caused copies to be sent to all parties of record.




                                  ________/s/___________________
                                  Andrew C. White
